                                  CASE
                                  CASE0:22-mj-00362-JFD
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                                            IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                             )          COURT MINUTES - CRIMINAL
                                                      )             BEFORE: JOHN F. DOCHERTY
                                   Plaintiff,         )                 U.S. Magistrate Judge
                                                      )
   v.                                                 )    Case No:           22-mj-362 JFD
                                                      )    Date:              May 4, 2022
Desmond Durelle Graham,                               )    Video Conference
                                                      )    Time Commenced:    11:02 a.m.
                                   Defendant.         )    Time Concluded:    12:07 p.m.
                                                           Time in Court:     1 hour, 5 minutes




                 X PRELIMINARY/DETENTION HRG
                    Time in Court Prelim/Det: 1 hour/5 minutes

APPEARANCES:

   Plaintiff: Harry Jacobs, Assistant U.S. Attorney
   Defendant: Ryan Pacyga,
                   X CJA

On         X Complaint

X Deft Detained - Govt to submit proposed order

X Probable cause found. Deft bound over to District Court of Minnesota


Additional Information:
X Defendant consents to this hearing via video conference.

Detention waived and reserved.

Christopher Langert testified.


                                                                                          s/JAM_____________
                                                                                  Signature of Courtroom Deputy




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